Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 1 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 2 of 119
FilingCase 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 3 of 119
       # 163306020  E-Filed 12/19/2022 02:03:38 PM



        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        Sara Villamar
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       Lexington Insurance Company
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

         $8,000 or less
         $8,001 - $30,000
         $30,001- $50,000
         $50,001- $75,000
         $75,001 - $100,000
         over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




                                                          -1-
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 4 of 119




   CIRCUIT CIVIL

    Condominium
    Contracts and indebtedness
    Eminent domain
    Auto negligence
    Negligence—other
          Business governance
          Business torts
          Environmental/Toxic tort
          Third party indemnification
          Construction defect
          Mass tort
          Negligent security
          Nursing home negligence
          Premises liability—commercial
          Premises liability—residential
    Products liability
      Real Property/Mortgage foreclosure
            Commercial foreclosure
            Homestead residential foreclosure
            Non-homestead residential foreclosure
            Other real property actions

   Professional malpractice
          Malpractice—business
          Malpractice—medical
          Malpractice—other professional
    Other
          Antitrust/Trade regulation
          Business transactions
          Constitutional challenge—statute or ordinance
          Constitutional challenge—proposed amendment
          Corporate trusts
          Discrimination—employment or other
          Insurance claims
          Intellectual property
          Libel/Slander
          Shareholder derivative action
          Securities litigation
          Trade secrets
          Trust litigation


   COUNTY CIVIL

    Small Claims up to $8,000
    Civil
    Real property/Mortgage foreclosure
                                                     -2-
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 5 of 119



    Replevins
    Evictions
          Residential Evictions
          Non-residential Evictions
    Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes  No 

           IV.   REMEDIES SOUGHT (check all that apply):
            Monetary;
            Nonmonetary declaratory or injunctive relief;
            Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             1

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                    yes
                    no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                    no
                    yes If “yes,” list all related cases by name, case number, and court.


           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                  yes
                  no


           IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                    yes
                    no


   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Carlos L Santi                           Fla. Bar # 70529
                  Attorney or party                                      (Bar # if attorney)

  Carlos L Santi                           12/19/2022
   (type or print name)                           Date

                                                   -3-
FilingCase 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 6 of 119
       # 163306020  E-Filed 12/19/2022 02:03:38 PM



                                                         IN THE CIRCUIT COURT FOR THE
                                                         11TH JUDICIAL CIRCUIT IN AND
                                                         FOR MIAMI-DADE, FLORIDA

                                                         CASE NO.:
       Sara Villamar,

       Plaintiff,

       v.

       Lexington Insurance Company,

       Defendant.

                                COMPLAINT FOR BREACH OF CONTRACT
                 Plaintiff, Sara Villamar, (the "Insured"), hereby sues Defendant, Lexington Insurance
       Company (the "Insurance Company"), and alleges as follows:

                                     PARTIES, JURISDICTION AND VENUE

            1. This is an action for damages that is more than $30,000.00 exclusive of interest, costs and

      attorney's fees.


            2. The Insured is an individual who at all times material hereto has resided in Miami-Dade

      County, Florida.


            3. The Insurance Company is qualified to do business in Florida and has, at all times material

      hereto, been conducting business in Miami-Dade County, Florida.


            4. Venue is proper in Miami-Dade County, Florida because the contract, which forms the subject

      matter of this lawsuit, was executed in Miami-Dade County, Florida.


            5. All conditions precedent to the filing of this lawsuit have occurred, have been
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 7 of 119




 waived or have been performed.

                                    GENERAL ALLEGATIONS


    6. At all times material hereto, in consideration of a premium paid by the Insured, there was in

 full force and effect a certain homeowners insurance policy issu ed by the Insurance Company

 with a policy number of 23247975-01 (the "Policy"). The Policy is attached hereto as Exhibit A and

 incorporated into the Complaint by reference herein.


    7. Accordingly, under the terms of the Policy, the Insurance Company agreed to provide

 insurance coverage to the Insureds property pursuant to the terms of the policy. The damaged

 property is located at 3485 North Meridian Ave, Miami Beach, FL 33140 (the "Property").


    8. On or about 04/11/2021, while the Policy was in full force and effect, the Property sustained

 a covered loss as a result of damage due to Windstorm (the "Loss").


    9. The Insurance Company assigned claim number 683-677980 to the Loss.


    10. Subsequently, the Insurance Company informed the Insured that although coverage existed,

 the costs to repair the damaged property did not exceed $12,858.50. See Exhibit B. After diligent

 inspection of the Loss, it was obvious that the Property sustained damage which the Insurance

 Company agreed to provide coverage for under the terms of the Policy but which the Insurance

 Company failed to indemnify for.


    11. As a result of the foregoing, the Insurance Company has breached the Policy.


    12. The Insured has suffered and continues to suffer damages resulting from Insurance




                                                  2
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 8 of 119




 Company's breach of the Policy.


    13. The Insured has been obligated to retain the undersigned attorneys for the prosecution of

 this action and is entitled to a reasonable attorney's fee pursuant to Florida Statute Section

 627.428.

                                           COUNT I
                                      BREACH OF CONTRACT

        The Insured reincorporates paragraphs 1 through 13 as if fully set forth herein.

    14. It is undisputed that the Insured and the Insurance Company entered into a written
 contract, the Policy, wherein the Insured agreed to pay a premium and the Insurance Company
 agreed to insure the Insureds Property.

    15. The Insured has paid all premiums due and owing as contemplated by the Policy; thus,
 fully performing her obligations under the Policy.

    16.  s Property sustained damage which the Insurance Company agreed to provide
 coverage for under the terms of the Policy.

    17. Furthermore, at all times material hereto, the Insured has satisfied all post-loss obligations to
 the best of her ability in accordance with the Policy.

    18. In contrast, the Insurance Company has failed to: (i) acknowledge coverage for a portion of
 the Loss; and/or (ii) pay Insured a sufficient amount for the loss. As a result of the foregoing, the
 Insurance Company has breached the Policy.

    19.                Insured

 has sustained damages.




                                                      3
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 9 of 119




        WHEREFORE, the Insured respectfully requests that this Court, enter judgment against the

 Insurance Company for damages, plus pre-judgment interest, court costs and reasonable attorney's

 fees pursuant to Section 627.428, Florida Statutes.


                                      JURY TRIAL DEMAND

          The Insured hereby demands a trial by jury on all issues so triable.

   Dated December 19, 2022
                                              Respectfully submitted,

                                              Property & Casualty Law Group
                                              Counsel for the Insured
                                              2307 Douglas Road, Suite 302
                                              Miami, Fl 33145
                                              Tel.: 305-961-1038
                                              CSanti@pclawgroup.com

                                              /s/ Carlos Santi
                                              ________________________________
                                              Carlos L. Santi, Esq.
                                              Florida Bar No. 70529




                                                   4
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 10 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 11 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 12 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 13 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 14 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 15 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 16 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 17 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 18 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 19 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 20 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 21 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 22 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 23 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 24 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 25 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 26 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 27 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 28 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 29 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 30 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 31 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 32 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 33 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 34 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 35 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 36 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 37 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 38 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 39 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 40 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 41 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 42 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 43 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 44 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 45 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 46 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 47 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 48 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 49 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 50 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 51 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 52 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 53 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 54 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 55 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 56 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 57 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 58 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 59 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 60 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 61 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 62 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 63 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 64 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 65 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 66 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 67 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 68 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 69 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 70 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 71 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 72 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 73 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 74 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 75 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 76 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 77 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 78 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 79 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 80 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 81 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 82 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 83 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 84 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 85 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 86 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 87 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 88 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 89 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 90 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 91 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 92 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 93 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 94 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 95 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 96 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 97 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 98 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 99 of 119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 100 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 101 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 102 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 103 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 104 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 105 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 106 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 107 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 108 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 109 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 110 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 111 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 112 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 113 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 114 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 115 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 116 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 117 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 118 of
                                     119
Case 1:23-cv-20325-DPG Document 1-4 Entered on FLSD Docket 01/27/2023 Page 119 of
                                     119
